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4
     Attorney for Defendant
5    Allen Lane
6
                     IN THE UNITED STATES DISTRICT COURT
7
                IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
8

9                                      )   Case No. Cr.S-12-442 LKK
     UNITED STATES OF AMERICA,         )
10                                     )   AMENDED
                Plaintiff,             )   STIPULATION AND ORDER
11                                     )   CONTINUING STATUS
          vs.                          )
12                                     )   Date: January 22, 2014
                                       )   Time: 9:15 AM
13   BRANDON MCMURRIAN,                )   Court: LKK
     JOEL MURDOCH,                     )
14                                     )
     KEVIN AYLER, and
     ALLEN LANE,                       )
15                                     )
                                       )
16              Defendants

17
                  STIPULATION TO CONTINUE STATUS CONFERENCE
18
          Pursuant to agreement between the parties it is hereby
19
     stipulated that the status conference in the above referenced
20
     matter be continued to January 22, 2014 at 9:15 AM.
21
          The basis for this request is that defense counsel have
22

23   been advised by the government that there is presently

24   additional discovery to be provided and that said discovery must

25   be reviewed by defense counsel in order to effectively represent




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     their respective clients. Furthermore, counsel are continuing to
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     negotiate with the government to resolve this matter. In the
2
     event that the parties are able to achieve a pretrial resolution
3

4    of this case, defense counsel will need additional time to

5    explain the ramifications of any plea agreement versus

6    proceeding to trial to their respective clients.

7         IT IS FURTHER STIPULATED that the period from November 13,

8    2013, (the date set for the previous status conference) through
9    and including January 22, 2014, be excluded in computing the
10
     time within which trial of this matter must be commenced under
11
     the Speedy Trial Act, pursuant to 18 U.S.C. §3161(h)(7)(A) and
12
     (B)(iv) and Local Code T4 for reasonable time to prepare for all
13
     counsel.
14
          IT IS SO STIPULATED.
15
     DATED: November 7, 2013
16

17   /S/Samuel Wong, Esq.,
     SAMUEL WONG, Esq.,                           Dated: November 7, 2013
18
     Assistant United States Attorney
19
     Attorney for Plaintiff

20
     /S/Michael Bigelow, Esq.,                    Dated: November 7, 2013
21   MICHAEL BIGELOW
     Attorney for Defendant
22   Allen Lane

23
     /S/Donald Dorfman, Esq.,                     Dated: November 7, 2013
24   DONALD DORFMAN
     Attorney for Defendant
25
     Joel Murdoch



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1
     /S/ Steve Plesser, Esq.,                        Dated: November 7, 2013
2
     STEVE PLESSER, Esq.,
     Attorney for Defendant
3
     Kevin Ayler
4
     /S/ Michael Long, Esq.,                         Dated: November 7, 2013
5    MICHAEL LONG, Esq.,
     Attorney for Defendant
6    Brandon McMurrian

7
                                         ORDER
8
          The Court, having received, read, and considered the
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     stipulation of the parties, and good cause appearing therefrom,
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11
     adopts the stipulation of the parties in its entirety as its

12   order.    Based on the representation of the parties and good

13   cause appearing therefrom, the Court hereby finds that the

14   failure to grant a continuance in this case would deny all

15   counsel reasonable time necessary for effective preparation,

16   taking into account the exercise of due diligence.            The Court
17   finds that the ends of justice to be served by granting a
18
     continuance outweigh the best interests of the public and the
19
     defendants in a speedy trial.        It is ordered that time beginning
20
     from November 13, 2013, up to and including the January 22,
21
     2014, status conference shall be excluded from computation of
22
     time within which the trial of this matter must be commenced
23
     under the Speedy Trial Act pursuant to 18 U.S.C. § 3161(h)(7)
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     (A) and (B) (iv) and Local Code T4, to allow all counsel
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     reasonable time to prepare.
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          IT IS ORDERED: that pursuant to stipulation the above-
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4    referenced matter shall be continued until January 22, 2014 at

5    9:15 AM, and time excluded for the reasons set forth above.

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     DATED: November 12, 2013
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